Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 1 of 49




  MAZZOLA LINDSTROM, LLP
  1350 Avenue of the Americas, 2nd Floor
  New York, New York 10019
  (c) 646.250.6666
  jean-claude@mazzolalindstrom.com

  IN THE UNITED STATES DISTRICT COURT
  FOR THE SOUTHERN DISTRICT OF FLORIDA
  -----------------------------------------------------------------x
  JIANGMEN BENLIDA PRINTED                                             CM/ECF
  CIRCUIT CO., LTD.,
                                                                       Civil Action No.:
                               Plaintiff,
                                                                       Complaint
               -against-
                                                                       Jury Trial Demanded
  CIRCUITRONIX LLC,

                                Defendant.
  -----------------------------------------------------------------x

  To:     Circuitronix LLC
          3131 SW 42nd Street, Fort Lauderdale, Florida 33312
          Agent for Service of Process: Torres Law, P.A., 888 Southeast 3rd Ave, Fort Lauderdale,
          Florida 33316, Attn: Osvaldo Torres


          Plaintiff Jiangmen Benlida Printed Circuit Co., Ltd. (“Benlida”), through its undersigned

  attorneys, alleges as follows for its complaint against defendant Circuitronix LLC upon

  information and belief:

                                                       Parties
          1.        At all material times, plaintiff Benlida was and is a citizen of the People’s

  Republic of China, where it was formed as a limited liability company, and maintains its

  principal place of business at No. 76 Long, High-Tech Industrial Park, Jiangmen, Guangdong,

  People’s Republic of China, and is engaged in the manufacture and sale of computer circuit

  boards. It maintains no office in the State of Florida.




                                                           1
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 2 of 49




         2.      As of the date of the filing of the complaint herein, plaintiff’s owners are Huang

  Xiangjiang, Huang Hanchao, Zhang Qing, Liu Yusheng, and Guangdong United Yuda

  Investment Partnership (Limited Partnership).

              a. Owner Huang Xiangjiang is a citizen and resident of the People’s Republic of

                 China, and maintains his principal place of business at No. 76 Long, High-Tech

                 Industrial Park, Jiangmen, Guangdong, People’s Republic of China. He maintains

                 no residence in the State of Florida.

              b. Owner Huang Hanchao is a citizen and resident of the People’s Republic of

                 China, and maintains his principal place of business at No. 76 Long, High-Tech

                 Industrial Park, Jiangmen, Guangdong, People’s Republic of China. He maintains

                 no residence in the State of Florida.

              c. Owner Zhang Qing is a citizen and resident of the People’s Republic of China,

                 and maintains his principal place of business at No. 76 Long, High-Tech

                 Industrial Park, Jiangmen, Guangdong, People’s Republic of China. He maintains

                 no residence in the State of Florida.

              d. Owner Liu Yusheng is a citizen and resident of the People’s Republic of China,

                 and maintains his principal place of business at No. 76 Long, High-Tech

                 Industrial Park, Jiangmen, Guangdong, People’s Republic of China. He maintains

                 no residence in the State of Florida.

              e. Owner Guangdong United Yuda Investment Partnership (Limited Partnership)

                 was and is a citizen of the People’s Republic of China, where it was formed as a

                 limited liability partnership, and maintains its principal place of business at 3rd

                 floor, No.7 Building, 21st Land, DongNan Industrial Park, JiangHai District,


                                                   2
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 3 of 49




                 Jiangmen, Guangdong, People's Republic of China. It maintains no place of

                 business in the State of Florida. Its owners are citizens and residents of the

                 People’s Republic of China, and maintain no residences nor places of business in

                 Florida.

         3.      At all material times, defendant Circuitronix was and is a citizen of the State of

  Florida, having been formed in Florida, having its principal office located at 3131 SW 42nd

  Street, Fort Lauderdale, Florida 33312, and having no members that are citizens, residents or

  domiciliaries of the People’s Republic of China.

         4.      Upon information and belief, as of the date of the filing of the complaint herein

  defendant Circuitronix was and is owned by Rishi Kukreja, a domiciliary of the State of Florida,

  with neither citizenship nor residency in the People’s Republic of China.

         5.      At the material times alleged herein, defendant Circuitronix ordered circuit boards

  from plaintiff Benlida.

         6.      At the material times alleged herein, the goods ordered by defendant Circuitronix

  were delivered to defendant, and accepted without complaint as to the quality of the goods, but

  defendant has failed to pay for such goods, thus owing plaintiff at the time of the filing of this

  complaint $11,539,408.36.

                                       Jurisdiction and Venue
         7.      This court possesses jurisdiction over this case pursuant to 28 U.S.C. § 1332(a),

  as there is diversity between a citizen of a foreign state (plaintiff Benlida, which was formed in

  the People’s Republic of China, where it maintains its principal place of business, and where all

  of its owners are domiciled) and a citizen of the State of Florida (Circuitronix, which was formed

  in the State of Florida, where it maintains its principal place of business, and has no members

                                                    3
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 4 of 49




  who are citizens, residents or domiciliaries of the People’s Republic of China), and the amount in

  controversy exceeds $75,000.00.

             8.    Venue is proper in this case pursuant to 28 U.S.C. §1391(b), as Circuitronix’s

  principal place of business – according to the website of the Division of Corporations of the State

  of Florida, as of the date of the filing of this complaint – is 3131 SW 42nd Street, Fort

  Lauderdale, Florida 33312, thus within Broward County and within the United States District for

  the Southern District of Florida.

                                               Background
             9.    This lawsuit arises out of Circuitronix’s failure to pay for circuit boards that were

  purchased, but not paid for, in 2018, 2019 and 2020, and thus there is no statute of limitations

  that bars any portion of the claims made herein.

             10.   During the period of time at issue, Benlida issued the following invoices, and

  caused the circuit boards that were ordered by Circuitronix to be delivered in accordance with

  the terms of the invoices, but the invoices have not been paid, save for the first, which was paid

  in part:

             11.   Invoice CCT-BLD-181229001 was issued by Benlida to Circuitronix for a total of

  $34,608.09. To date, Circuitronix has paid no portion of the amount owed.

             12.   Invoice CCT-BLD-181229002 was issued by Benlida to Circuitronix for a total of

  $86,125.26. To date, Circuitronix has paid no portion of the amount owed.

             13.   Invoice CCT-BLD-181231001 was issued by Benlida to Circuitronix for a total of

  $48,335.32. To date, Circuitronix has paid no portion of the amount owed.




                                                     4
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 5 of 49




         14.    Invoice CCT-BLD-181231002 was issued by Benlida to Circuitronix for a total of

  $75,238.89. To date, Circuitronix has paid no portion of the amount owed.

         15.    Invoice CCT-BLD-181231003 was issued by Benlida to Circuitronix for a total of

  $118,543.84. To date, Circuitronix has paid no portion of the amount owed.

         16.    Invoice CCT-BLD-181231004 was issued by Benlida to Circuitronix for a total of

  $56,406.52. To date, Circuitronix has paid no portion of the amount owed.

         17.    Invoice CCT-BLD-190104001 was issued by Benlida to Circuitronix for a total of

  $89,750.65. To date, Circuitronix has paid no portion of the amount owed.

         18.    Invoice CCT-BLD-190104002 was issued by Benlida to Circuitronix for a total of

  $112,847.60. To date, Circuitronix has paid no portion of the amount owed.

         19.    Invoice CCT-BLD-19010401 was issued by Benlida to Circuitronix for a total of

  $11,978.29. To date, Circuitronix has paid no portion of the amount owed.

         20.    Invoice CCT-BLD-190108001 was issued by Benlida to Circuitronix for a total of

  $78,157.64. To date, Circuitronix has paid no portion of the amount owed.

         21.    Invoice CCT-BLD-190111001 was issued by Benlida to Circuitronix for a total of

  $58,979.40. To date, Circuitronix has paid no portion of the amount owed.

         22.    Invoice CCT-BLD-190111002 was issued by Benlida to Circuitronix for a total of

  $86,227.54. To date, Circuitronix has paid no portion of the amount owed.

         23.    Invoice CCT-BLD-190111003 was issued by Benlida to Circuitronix for a total of

  $48,634.29. To date, Circuitronix has paid no portion of the amount owed.




                                                 5
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 6 of 49




         24.    Invoice CCT-BLD-19011101 was issued by Benlida to Circuitronix for a total of

  $20,082.92. To date, Circuitronix has paid no portion of the amount owed.

         25.    Invoice CCT-BLD-190115001 was issued by Benlida to Circuitronix for a total of

  $45,553.39. To date, Circuitronix has paid no portion of the amount owed.

         26.    Invoice CCT-BLD-190118001 was issued by Benlida to Circuitronix for a total of

  $91,067.44. To date, Circuitronix has paid no portion of the amount owed.

         27.    Invoice CCT-BLD-190118002 was issued by Benlida to Circuitronix for a total of

  $83,098.02. To date, Circuitronix has paid no portion of the amount owed.

         28.    Invoice CCT-BLD-19011801 was issued by Benlida to Circuitronix for a total of

  $3,334.95. To date, Circuitronix has paid no portion of the amount owed.

         29.    Invoice CCT-BLD-19012101 was issued by Benlida to Circuitronix for a total of

  $662.86. To date, Circuitronix has paid no portion of the amount owed.

         30.    Invoice CCT-BLD-190122001 was issued by Benlida to Circuitronix for a total of

  $59,236.41. To date, Circuitronix has paid no portion of the amount owed.

         31.    Invoice CCT-BLD-19012401 was issued by Benlida to Circuitronix for a total of

  $2,953.74. To date, Circuitronix has paid no portion of the amount owed.

         32.    Invoice CCT-BLD-190125001 was issued by Benlida to Circuitronix for a total of

  $86,445.00. To date, Circuitronix has paid no portion of the amount owed.

         33.    Invoice CCT-BLD-190125002 was issued by Benlida to Circuitronix for a total of

  $58,150.80. To date, Circuitronix has paid no portion of the amount owed.




                                                 6
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 7 of 49




         34.     Invoice CCT-BLD-190125003 was issued by Benlida to Circuitronix for a total of

  $71,207.72. To date, Circuitronix has paid no portion of the amount owed.

         35.     Invoice CCT-BLD-190129001 was issued by Benlida to Circuitronix for a total of

  $75,033.58. To date, Circuitronix has paid no portion of the amount owed.

         36.     Invoice CCT-BLD-190129002 was issued by Benlida to Circuitronix for a total of

  $7,451.60. To date, Circuitronix has paid no portion of the amount owed.

         37.     Invoice CCT-BLD-1901cancellation cost was issued by Benlida to Circuitronix

  for a total of $15,296.09. To date, Circuitronix has paid no portion of the amount owed.

         38.     Invoice CCT-BLD-1901NRE was issued by Benlida to Circuitronix for a total of

  $300.00. To date, Circuitronix has paid no portion of the amount owed.

         39.     Invoice CCT-BLD-19020101 was issued by Benlida to Circuitronix for a total of

  $50,496.84. To date, Circuitronix has paid no portion of the amount owed.

         40.     Invoice CCT-BLD-19020102 was issued by Benlida to Circuitronix for a total of

  $4,718.58. To date, Circuitronix has paid no portion of the amount owed.

         41.     Invoice CCT-BLD-190215001 was issued by Benlida to Circuitronix for a total of

  $81,126.75. To date, Circuitronix has paid no portion of the amount owed.

         42.     Invoice CCT-BLD-190215002 was issued by Benlida to Circuitronix for a total of

  $35,987.40. To date, Circuitronix has paid no portion of the amount owed.

         43.     Invoice CCT-BLD-190215003 was issued by Benlida to Circuitronix for a total of

  $59,159.80. To date, Circuitronix has paid no portion of the amount owed.




                                                  7
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 8 of 49




         44.    Invoice CCT-BLD-19021801 was issued by Benlida to Circuitronix for a total of

  $668.50. To date, Circuitronix has paid no portion of the amount owed.

         45.    Invoice CCT-BLD-190219001 was issued by Benlida to Circuitronix for a total of

  $55,199.43. To date, Circuitronix has paid no portion of the amount owed.

         46.    Invoice CCT-BLD-190222001 was issued by Benlida to Circuitronix for a total of

  $25,120.06. To date, Circuitronix has paid no portion of the amount owed.

         47.    Invoice CCT-BLD-190222002 was issued by Benlida to Circuitronix for a total of

  $82,842.00. To date, Circuitronix has paid no portion of the amount owed.

         48.    Invoice CCT-BLD-190222003 was issued by Benlida to Circuitronix for a total of

  $76,526.40. To date, Circuitronix has paid no portion of the amount owed.

         49.    Invoice CCT-BLD-190222004 was issued by Benlida to Circuitronix for a total of

  $47,933.40. To date, Circuitronix has paid no portion of the amount owed.

         50.    Invoice CCT-BLD-19022201 was issued by Benlida to Circuitronix for a total of

  $1,288.56. To date, Circuitronix has paid no portion of the amount owed.

         51.    Invoice CCT-BLD-190226001 was issued by Benlida to Circuitronix for a total of

  $42,788.15. To date, Circuitronix has paid no portion of the amount owed.

         52.    Invoice CCT-BLD-190226002 was issued by Benlida to Circuitronix for a total of

  $47,470.44. To date, Circuitronix has paid no portion of the amount owed.

         53.    Invoice CCT-BLD-190301001 was issued by Benlida to Circuitronix for a total of

  $81,536.35. To date, Circuitronix has paid no portion of the amount owed.




                                                 8
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 9 of 49




         54.    Invoice CCT-BLD-190301002 was issued by Benlida to Circuitronix for a total of

  $54,353.60. To date, Circuitronix has paid no portion of the amount owed.

         55.    Invoice CCT-BLD-190301003 was issued by Benlida to Circuitronix for a total of

  $43,756.95. To date, Circuitronix has paid no portion of the amount owed.

         56.    Invoice CCT-BLD-19030101 was issued by Benlida to Circuitronix for a total of

  $369.32. To date, Circuitronix has paid no portion of the amount owed.

         57.    Invoice CCT-BLD-190304defective was issued by Benlida to Circuitronix for a

  total of $303.74. To date, Circuitronix has paid no portion of the amount owed.

         58.    Invoice CCT-BLD-190305001 was issued by Benlida to Circuitronix for a total of

  $39,243.18. To date, Circuitronix has paid no portion of the amount owed.

         59.    Invoice CCT-BLD-190305002 was issued by Benlida to Circuitronix for a total of

  $69,327.27. To date, Circuitronix has paid no portion of the amount owed.

         60.    Invoice CCT-BLD-190308001 was issued by Benlida to Circuitronix for a total of

  $29,091.10. To date, Circuitronix has paid no portion of the amount owed.

         61.    Invoice CCT-BLD-190308002 was issued by Benlida to Circuitronix for a total of

  $76,939.35. To date, Circuitronix has paid no portion of the amount owed.

         62.    Invoice CCT-BLD-190308003 was issued by Benlida to Circuitronix for a total of

  $20,735.88. To date, Circuitronix has paid no portion of the amount owed.

         63.    Invoice CCT-BLD-190308004 was issued by Benlida to Circuitronix for a total of

  $14,624.52. To date, Circuitronix has paid no portion of the amount owed.




                                                 9
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 10 of 49




         64.    Invoice CCT-BLD-19030801 was issued by Benlida to Circuitronix for a total of

  $470.95. To date, Circuitronix has paid no portion of the amount owed.

         65.    Invoice CCT-BLD-190312001 was issued by Benlida to Circuitronix for a total of

  $31,622.82. To date, Circuitronix has paid no portion of the amount owed.

         66.    Invoice CCT-BLD-190312002 was issued by Benlida to Circuitronix for a total of

  $58,677.86. To date, Circuitronix has paid no portion of the amount owed.

         67.    Invoice CCT-BLD-19031201 was issued by Benlida to Circuitronix for a total of

  $2,503.58. To date, Circuitronix has paid no portion of the amount owed.

         68.    Invoice CCT-BLD-190315001 was issued by Benlida to Circuitronix for a total of

  $78,512.13. To date, Circuitronix has paid no portion of the amount owed.

         69.    Invoice CCT-BLD-190315002 was issued by Benlida to Circuitronix for a total of

  $30,374.72. To date, Circuitronix has paid no portion of the amount owed.

         70.    Invoice CCT-BLD-190315003 was issued by Benlida to Circuitronix for a total of

  $5,002.56. To date, Circuitronix has paid no portion of the amount owed.

         71.    Invoice CCT-BLD-190319001 was issued by Benlida to Circuitronix for a total of

  $75,164.61. To date, Circuitronix has paid no portion of the amount owed.

         72.    Invoice CCT-BLD-190319002 was issued by Benlida to Circuitronix for a total of

  $34,164.58. To date, Circuitronix has paid no portion of the amount owed.

         73.    Invoice CCT-BLD-19031901 was issued by Benlida to Circuitronix for a total of

  $1,741.15. To date, Circuitronix has paid no portion of the amount owed.




                                                10
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 11 of 49




         74.    Invoice CCT-BLD-190322001 was issued by Benlida to Circuitronix for a total of

  $54,623.53. To date, Circuitronix has paid no portion of the amount owed.

         75.    Invoice CCT-BLD-190322002 was issued by Benlida to Circuitronix for a total of

  $19,770.08. To date, Circuitronix has paid no portion of the amount owed.

         76.    Invoice CCT-BLD-190322003 was issued by Benlida to Circuitronix for a total of

  $27,408.56. To date, Circuitronix has paid no portion of the amount owed.

         77.    Invoice CCT-BLD-19032501 was issued by Benlida to Circuitronix for a total of

  $535.68. To date, Circuitronix has paid no portion of the amount owed.

         78.    Invoice CCT-BLD-190326001 was issued by Benlida to Circuitronix for a total of

  $57,693.66. To date, Circuitronix has paid no portion of the amount owed.

         79.    Invoice CCT-BLD-190326002 was issued by Benlida to Circuitronix for a total of

  $77,418.72. To date, Circuitronix has paid no portion of the amount owed.

         80.    Invoice CCT-BLD-190326003 was issued by Benlida to Circuitronix for a total of

  $5,371.68. To date, Circuitronix has paid no portion of the amount owed.

         81.    Invoice CCT-BLD-190329001 was issued by Benlida to Circuitronix for a total of

  $47,889.32. To date, Circuitronix has paid no portion of the amount owed.

         82.    Invoice CCT-BLD-190329002 was issued by Benlida to Circuitronix for a total of

  $7,783.20. To date, Circuitronix has paid no portion of the amount owed.

         83.    Invoice CCT-BLD-1903NRE was issued by Benlida to Circuitronix for a total of

  $2,500.00. To date, Circuitronix has paid no portion of the amount owed.




                                                11
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 12 of 49




         84.    Invoice CCT-BLD-19040201 was issued by Benlida to Circuitronix for a total of

  $61.00. To date, Circuitronix has paid no portion of the amount owed.

         85.    Invoice CCT-BLD-190403003 was issued by Benlida to Circuitronix for a total of

  $5,943.06. To date, Circuitronix has paid no portion of the amount owed.

         86.    Invoice CCT-BLD-190403002 was issued by Benlida to Circuitronix for a total of

  $68,441.59. To date, Circuitronix has paid no portion of the amount owed.

         87.    Invoice CCT-BLD-190403004 was issued by Benlida to Circuitronix for a total of

  $4,851.84. To date, Circuitronix has paid no portion of the amount owed.

         88.    Invoice CCT-BLD-190403001 was issued by Benlida to Circuitronix for a total of

  $78,471.52. To date, Circuitronix has paid no portion of the amount owed.

         89.    Invoice CCT-BLD-19040801 was issued by Benlida to Circuitronix for a total of

  $3,715.60. To date, Circuitronix has paid no portion of the amount owed.

         90.    Invoice CCT-BLD-190409001 was issued by Benlida to Circuitronix for a total of

  $47,832.23. To date, Circuitronix has paid no portion of the amount owed.

         91.    Invoice CCT-BLD-190409002 was issued by Benlida to Circuitronix for a total of

  $74,391.03. To date, Circuitronix has paid no portion of the amount owed.

         92.    Invoice CCT-BLD-190412002 was issued by Benlida to Circuitronix for a total of

  $8,535.24. To date, Circuitronix has paid no portion of the amount owed.

         93.    Invoice CCT-BLD-190412001 was issued by Benlida to Circuitronix for a total of

  $39,500.17. To date, Circuitronix has paid no portion of the amount owed.




                                                12
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 13 of 49




         94.    Invoice CCT-BLD-190416001 was issued by Benlida to Circuitronix for a total of

  $41,775.56. To date, Circuitronix has paid no portion of the amount owed.

         95.    Invoice CCT-BLD-19041701 was issued by Benlida to Circuitronix for a total of

  $134.73. To date, Circuitronix has paid no portion of the amount owed.

         96.    Invoice CCT-BLD-190419003 was issued by Benlida to Circuitronix for a total of

  $30,243.60. To date, Circuitronix has paid no portion of the amount owed.

         97.    Invoice CCT-BLD-190419004 was issued by Benlida to Circuitronix for a total of

  $29,942.65. To date, Circuitronix has paid no portion of the amount owed.

         98.    Invoice CCT-BLD-190419001 was issued by Benlida to Circuitronix for a total of

  $27,185.91. To date, Circuitronix has paid no portion of the amount owed.

         99.    Invoice CCT-BLD-190419002 was issued by Benlida to Circuitronix for a total of

  $65,980.00. To date, Circuitronix has paid no portion of the amount owed.

         100.   Invoice CCT-BLD-19042201 was issued by Benlida to Circuitronix for a total of

  $6,809.20. To date, Circuitronix has paid no portion of the amount owed.

         101.   Invoice CCT-BLD-190423003 was issued by Benlida to Circuitronix for a total of

  $64,098.14. To date, Circuitronix has paid no portion of the amount owed.

         102.   Invoice CCT-BLD-190423001 was issued by Benlida to Circuitronix for a total of

  $57,714.54. To date, Circuitronix has paid no portion of the amount owed.

         103.   Invoice CCT-BLD-190423002 was issued by Benlida to Circuitronix for a total of

  $73,766.90. To date, Circuitronix has paid no portion of the amount owed.




                                                13
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 14 of 49




         104.   Invoice CCT-BLD-190426003 was issued by Benlida to Circuitronix for a total of

  $22,242.16. To date, Circuitronix has paid no portion of the amount owed.

         105.   Invoice CCT-BLD-190426002 was issued by Benlida to Circuitronix for a total of

  $27,774.20. To date, Circuitronix has paid no portion of the amount owed.

         106.   Invoice CCT-BLD-190426001 was issued by Benlida to Circuitronix for a total of

  $72,967.30. To date, Circuitronix has paid no portion of the amount owed.

         107.   Invoice CCT-BLD-19042901 was issued by Benlida to Circuitronix for a total of

  $22,333.20. To date, Circuitronix has paid no portion of the amount owed.

         108.   Invoice CCT-BLD-190429002 was issued by Benlida to Circuitronix for a total of

  $6,905.20. To date, Circuitronix has paid no portion of the amount owed.

         109.   Invoice CCT-BLD-190429001 was issued by Benlida to Circuitronix for a total of

  $80,477.13. To date, Circuitronix has paid no portion of the amount owed.

         110.   Invoice CCT-BLD-19050601 was issued by Benlida to Circuitronix for a total of

  $3,162.79. To date, Circuitronix has paid no portion of the amount owed.

         111.   Invoice CCT-BLD-190507001 was issued by Benlida to Circuitronix for a total of

  $32,339.27. To date, Circuitronix has paid no portion of the amount owed.

         112.   Invoice CCT-BLD-190507002 was issued by Benlida to Circuitronix for a total of

  $6,931.20. To date, Circuitronix has paid no portion of the amount owed.

         113.   Invoice CCT-BLD-190510001 was issued by Benlida to Circuitronix for a total of

  $36,559.02. To date, Circuitronix has paid no portion of the amount owed.




                                                14
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 15 of 49




         114.   Invoice CCT-BLD-190510002 was issued by Benlida to Circuitronix for a total of

  $50,015.61. To date, Circuitronix has paid no portion of the amount owed.

         115.   Invoice CCT-BLD-190510003 was issued by Benlida to Circuitronix for a total of

  $16,084.64. To date, Circuitronix has paid no portion of the amount owed.

         116.   Invoice CCT-BLD-19051301 was issued by Benlida to Circuitronix for a total of

  $2,561.47. To date, Circuitronix has paid no portion of the amount owed.

         117.   Invoice CCT-BLD-190514001 was issued by Benlida to Circuitronix for a total of

  $57,133.31. To date, Circuitronix has paid no portion of the amount owed.

         118.   Invoice CCT-BLD-190514002 was issued by Benlida to Circuitronix for a total of

  $54,743.50. To date, Circuitronix has paid no portion of the amount owed.

         119.   Invoice CCT-BLD-190514003 was issued by Benlida to Circuitronix for a total of

  $52,232.43. To date, Circuitronix has paid no portion of the amount owed.

         120.   Invoice CCT-BLD-190517001 was issued by Benlida to Circuitronix for a total of

  $28,836.48. To date, Circuitronix has paid no portion of the amount owed.

         121.   Invoice CCT-BLD-190517002 was issued by Benlida to Circuitronix for a total of

  $5,693.92. To date, Circuitronix has paid no portion of the amount owed.

         122.   Invoice CCT-BLD-190517003 was issued by Benlida to Circuitronix for a total of

  $11,725.43. To date, Circuitronix has paid no portion of the amount owed.

         123.   Invoice CCT-BLD-190521001 was issued by Benlida to Circuitronix for a total of

  $44,392.36. To date, Circuitronix has paid no portion of the amount owed.




                                                15
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 16 of 49




         124.   Invoice CCT-BLD-190521002 was issued by Benlida to Circuitronix for a total of

  $9,934.76. To date, Circuitronix has paid no portion of the amount owed.

         125.   Invoice CCT-BLD-19052101 was issued by Benlida to Circuitronix for a total of

  $26,473.65. To date, Circuitronix has paid no portion of the amount owed.

         126.   Invoice CCT-BLD-190524001 was issued by Benlida to Circuitronix for a total of

  $62,248.84. To date, Circuitronix has paid no portion of the amount owed.

         127.   Invoice CCT-BLD-190524002 was issued by Benlida to Circuitronix for a total of

  $27,808.00. To date, Circuitronix has paid no portion of the amount owed.

         128.   Invoice CCT-BLD-190524003 was issued by Benlida to Circuitronix for a total of

  $27,204.88. To date, Circuitronix has paid no portion of the amount owed.

         129.   Invoice CCT-BLD-190524004 was issued by Benlida to Circuitronix for a total of

  $74,114.54. To date, Circuitronix has paid no portion of the amount owed.

         130.   Invoice CCT-BLD-190528001 was issued by Benlida to Circuitronix for a total of

  $63,547.10. To date, Circuitronix has paid no portion of the amount owed.

         131.   Invoice CCT-BLD-19052801 was issued by Benlida to Circuitronix for a total of

  $21,060.02. To date, Circuitronix has paid no portion of the amount owed.

         132.   Invoice CCT-BLD-19052802 was issued by Benlida to Circuitronix for a total of

  $1,120.00. To date, Circuitronix has paid no portion of the amount owed.

         133.   Invoice CCT-BLD-190531001 was issued by Benlida to Circuitronix for a total of

  $36,294.85. To date, Circuitronix has paid no portion of the amount owed.




                                                16
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 17 of 49




         134.   Invoice CCT-BLD-190531002 was issued by Benlida to Circuitronix for a total of

  $35,780.80. To date, Circuitronix has paid no portion of the amount owed.

         135.   Invoice CCT-BLD-190531003 was issued by Benlida to Circuitronix for a total of

  $52,662.34. To date, Circuitronix has paid no portion of the amount owed.

         136.   Invoice CCT-BLD-190604001 was issued by Benlida to Circuitronix for a total of

  $31,693.14. To date, Circuitronix has paid no portion of the amount owed.

         137.   Invoice CCT-BLD-19060501 was issued by Benlida to Circuitronix for a total of

  $21,854.08. To date, Circuitronix has paid no portion of the amount owed.

         138.   Invoice CCT-BLD-190606001 was issued by Benlida to Circuitronix for a total of

  $21,482.69. To date, Circuitronix has paid no portion of the amount owed.

         139.   Invoice CCT-BLD-190606002 was issued by Benlida to Circuitronix for a total of

  $8,914.20. To date, Circuitronix has paid no portion of the amount owed.

         140.   Invoice CCT-BLD-190611001 was issued by Benlida to Circuitronix for a total of

  $54,795.57. To date, Circuitronix has paid no portion of the amount owed.

         141.   Invoice CCT-BLD-19061202 was issued by Benlida to Circuitronix for a total of

  $1,262.46. To date, Circuitronix has paid no portion of the amount owed.

         142.   Invoice CCT-BLD-19061201 was issued by Benlida to Circuitronix for a total of

  $15,300.22. To date, Circuitronix has paid no portion of the amount owed.

         143.   Invoice CCT-BLD-190614001 was issued by Benlida to Circuitronix for a total of

  $73,181.85. To date, Circuitronix has paid no portion of the amount owed.




                                                17
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 18 of 49




         144.   Invoice CCT-BLD-190614004 was issued by Benlida to Circuitronix for a total of

  $6,484.27. To date, Circuitronix has paid no portion of the amount owed.

         145.   Invoice CCT-BLD-190614002 was issued by Benlida to Circuitronix for a total of

  $17,608.00. To date, Circuitronix has paid no portion of the amount owed.

         146.   Invoice CCT-BLD-190614003 was issued by Benlida to Circuitronix for a total of

  $46,367.86. To date, Circuitronix has paid no portion of the amount owed.

         147.   Invoice CCT-BLD-190618001 was issued by Benlida to Circuitronix for a total of

  $23,488.35. To date, Circuitronix has paid no portion of the amount owed.

         148.   Invoice CCT-BLD-190618002 was issued by Benlida to Circuitronix for a total of

  $69,665.36. To date, Circuitronix has paid no portion of the amount owed.

         149.   Invoice CCT-BLD-190621002 was issued by Benlida to Circuitronix for a total of

  $23,842.95. To date, Circuitronix has paid no portion of the amount owed.

         150.   Invoice CCT-BLD-190621001 was issued by Benlida to Circuitronix for a total of

  $48,715.37. To date, Circuitronix has paid no portion of the amount owed.

         151.   Invoice CCT-BLD-19062102 was issued by Benlida to Circuitronix for a total of

  $10,929.78. To date, Circuitronix has paid no portion of the amount owed.

         152.   Invoice CCT-BLD-19062101 was issued by Benlida to Circuitronix for a total of

  $29,292.75. To date, Circuitronix has paid no portion of the amount owed.

         153.   Invoice CCT-BLD-190625001 was issued by Benlida to Circuitronix for a total of

  $66,198.51. To date, Circuitronix has paid no portion of the amount owed.




                                                18
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 19 of 49




         154.   Invoice CCT-BLD-190625002 was issued by Benlida to Circuitronix for a total of

  $17,608.00. To date, Circuitronix has paid no portion of the amount owed.

         155.   Invoice CCT-BLD-19062501 was issued by Benlida to Circuitronix for a total of

  $46,612.89. To date, Circuitronix has paid no portion of the amount owed.

         156.   Invoice CCT-BLD-19062502 was issued by Benlida to Circuitronix for a total of

  $20,853.38. To date, Circuitronix has paid no portion of the amount owed.

         157.   Invoice CCT-BLD-190628003 was issued by Benlida to Circuitronix for a total of

  $35,825.04. To date, Circuitronix has paid no portion of the amount owed.

         158.   Invoice CCT-BLD-190628004 was issued by Benlida to Circuitronix for a total of

  $538.20. To date, Circuitronix has paid no portion of the amount owed.

         159.   Invoice CCT-BLD-190628005 was issued by Benlida to Circuitronix for a total of

  $29,806.83. To date, Circuitronix has paid no portion of the amount owed.

         160.   Invoice CCT-BLD-190628002 was issued by Benlida to Circuitronix for a total of

  $46,903.33. To date, Circuitronix has paid no portion of the amount owed.

         161.   Invoice CCT-BLD-190628001 was issued by Benlida to Circuitronix for a total of

  $54,193.30. To date, Circuitronix has paid no portion of the amount owed.

         162.   Invoice CCT-BLD-190702001 was issued by Benlida to Circuitronix for a total of

  $32,885.31. To date, Circuitronix has paid no portion of the amount owed.

         163.   Invoice CCT-BLD-190702002 was issued by Benlida to Circuitronix for a total of

  $64,657.59. To date, Circuitronix has paid no portion of the amount owed.




                                                19
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 20 of 49




         164.   Invoice CCT-BLD-190705001 was issued by Benlida to Circuitronix for a total of

  $26,792.99. To date, Circuitronix has paid no portion of the amount owed.

         165.   Invoice CCT-BLD-190705002 was issued by Benlida to Circuitronix for a total of

  $32,813.85. To date, Circuitronix has paid no portion of the amount owed.

         166.   Invoice CCT-BLD-190705003 was issued by Benlida to Circuitronix for a total of

  $39,175.23. To date, Circuitronix has paid no portion of the amount owed.

         167.   Invoice CCT-BLD-19070501 was issued by Benlida to Circuitronix for a total of

  $7,478.58. To date, Circuitronix has paid no portion of the amount owed.

         168.   Invoice CCT-BLD-19070502 was issued by Benlida to Circuitronix for a total of

  $1,088.18. To date, Circuitronix has paid no portion of the amount owed.

         169.   Invoice CCT-BLD-190709001 was issued by Benlida to Circuitronix for a total of

  $11,973.11. To date, Circuitronix has paid no portion of the amount owed.

         170.   Invoice CCT-BLD-190709002 was issued by Benlida to Circuitronix for a total of

  $33,597.97. To date, Circuitronix has paid no portion of the amount owed.

         171.   Invoice CCT-BLD-190712001 was issued by Benlida to Circuitronix for a total of

  $42,998.08. To date, Circuitronix has paid no portion of the amount owed.

         172.   Invoice CCT-BLD-190712002 was issued by Benlida to Circuitronix for a total of

  $12,291.12. To date, Circuitronix has paid no portion of the amount owed.

         173.   Invoice CCT-BLD-190712003 was issued by Benlida to Circuitronix for a total of

  $22,877.48. To date, Circuitronix has paid no portion of the amount owed.




                                                20
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 21 of 49




         174.   Invoice CCT-BLD-19071201 was issued by Benlida to Circuitronix for a total of

  $6,942.66. To date, Circuitronix has paid no portion of the amount owed.

         175.   Invoice CCT-BLD-19071202 was issued by Benlida to Circuitronix for a total of

  $13,657.05. To date, Circuitronix has paid no portion of the amount owed.

         176.   Invoice CCT-BLD-19071801 was issued by Benlida to Circuitronix for a total of

  $5,657.85. To date, Circuitronix has paid no portion of the amount owed.

         177.   Invoice CCT-BLD-190719001 was issued by Benlida to Circuitronix for a total of

  $43,450.47. To date, Circuitronix has paid no portion of the amount owed.

         178.   Invoice CCT-BLD-190719002 was issued by Benlida to Circuitronix for a total of

  $41,060.48. To date, Circuitronix has paid no portion of the amount owed.

         179.   Invoice CCT-BLD-190719003 was issued by Benlida to Circuitronix for a total of

  $66,841.81. To date, Circuitronix has paid no portion of the amount owed.

         180.   Invoice CCT-BLD-190719004 was issued by Benlida to Circuitronix for a total of

  $60,813.48. To date, Circuitronix has paid no portion of the amount owed.

         181.   Invoice CCT-BLD-190723001 was issued by Benlida to Circuitronix for a total of

  $34,325.02. To date, Circuitronix has paid no portion of the amount owed.

         182.   Invoice CCT-BLD-190723002 was issued by Benlida to Circuitronix for a total of

  $25,506.56. To date, Circuitronix has paid no portion of the amount owed.

         183.   Invoice CCT-BLD-19072301 was issued by Benlida to Circuitronix for a total of

  $58,612.31. To date, Circuitronix has paid no portion of the amount owed.




                                                21
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 22 of 49




         184.   Invoice CCT-BLD-19072302 was issued by Benlida to Circuitronix for a total of

  $1,651.22. To date, Circuitronix has paid no portion of the amount owed.

         185.   Invoice CCT-BLD-190726001 was issued by Benlida to Circuitronix for a total of

  $19,050.62. To date, Circuitronix has paid no portion of the amount owed.

         186.   Invoice CCT-BLD-190726002 was issued by Benlida to Circuitronix for a total of

  $67,953.78. To date, Circuitronix has paid no portion of the amount owed.

         187.   Invoice CCT-BLD-190726003 was issued by Benlida to Circuitronix for a total of

  $25,937.08. To date, Circuitronix has paid no portion of the amount owed.

         188.   Invoice CCT-BLD-190730001 was issued by Benlida to Circuitronix for a total of

  $33,429.50. To date, Circuitronix has paid no portion of the amount owed.

         189.   Invoice CCT-BLD-190730002 was issued by Benlida to Circuitronix for a total of

  $67,206.08. To date, Circuitronix has paid no portion of the amount owed.

         190.   Invoice CCT-BLD-1907NRE was issued by Benlida to Circuitronix for a total of

  $150.00. To date, Circuitronix has paid no portion of the amount owed.

         191.   Invoice CCT-BLD-190802001 was issued by Benlida to Circuitronix for a total of

  $19,887.10. To date, Circuitronix has paid no portion of the amount owed.

         192.   Invoice CCT-BLD-190802002 was issued by Benlida to Circuitronix for a total of

  $9,291.96. To date, Circuitronix has paid no portion of the amount owed.

         193.   Invoice CCT-BLD-190802003 was issued by Benlida to Circuitronix for a total of

  $8,761.20. To date, Circuitronix has paid no portion of the amount owed.




                                                22
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 23 of 49




         194.   Invoice CCT-BLD-19080201 was issued by Benlida to Circuitronix for a total of

  $2,124.26. To date, Circuitronix has paid no portion of the amount owed.

         195.   Invoice CCT-BLD-19080202 was issued by Benlida to Circuitronix for a total of

  $690.25. To date, Circuitronix has paid no portion of the amount owed.

         196.   Invoice CCT-BLD-190806001 was issued by Benlida to Circuitronix for a total of

  $17,074.40. To date, Circuitronix has paid no portion of the amount owed.

         197.   Invoice CCT-BLD-190806002 was issued by Benlida to Circuitronix for a total of

  $17,225.32. To date, Circuitronix has paid no portion of the amount owed.

         198.   Invoice CCT-BLD-19080601 was issued by Benlida to Circuitronix for a total of

  $7,971.63. To date, Circuitronix has paid no portion of the amount owed.

         199.   Invoice CCT-BLD-19080602 was issued by Benlida to Circuitronix for a total of

  $8,827.64. To date, Circuitronix has paid no portion of the amount owed.

         200.   Invoice CCT-BLD-190808 was issued by Benlida to Circuitronix for a total of

  $1,268.59. To date, Circuitronix has paid no portion of the amount owed.

         201.   Invoice CCT-BLD-190809001 was issued by Benlida to Circuitronix for a total of

  $30,281.15. To date, Circuitronix has paid no portion of the amount owed.

         202.   Invoice CCT-BLD-190809002 was issued by Benlida to Circuitronix for a total of

  $14,071.26. To date, Circuitronix has paid no portion of the amount owed.

         203.   Invoice CCT-BLD-190809003 was issued by Benlida to Circuitronix for a total of

  $6,883.80. To date, Circuitronix has paid no portion of the amount owed.




                                                23
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 24 of 49




         204.   Invoice CCT-BLD-190814001 was issued by Benlida to Circuitronix for a total of

  $10,381.03. To date, Circuitronix has paid no portion of the amount owed.

         205.   Invoice CCT-BLD-190814002 was issued by Benlida to Circuitronix for a total of

  $21,465.40. To date, Circuitronix has paid no portion of the amount owed.

         206.   Invoice CCT-BLD-19081501 was issued by Benlida to Circuitronix for a total of

  $4,776.00. To date, Circuitronix has paid no portion of the amount owed.

         207.   Invoice CCT-BLD-19081502 was issued by Benlida to Circuitronix for a total of

  $344.24. To date, Circuitronix has paid no portion of the amount owed.

         208.   Invoice CCT-BLD-190816001 was issued by Benlida to Circuitronix for a total of

  $7,258.91. To date, Circuitronix has paid no portion of the amount owed.

         209.   Invoice CCT-BLD-190816002 was issued by Benlida to Circuitronix for a total of

  $29,379.88. To date, Circuitronix has paid no portion of the amount owed.

         210.   Invoice CCT-BLD-190816003 was issued by Benlida to Circuitronix for a total of

  $1,166.67. To date, Circuitronix has paid no portion of the amount owed.

         211.   Invoice CCT-BLD-190820001 was issued by Benlida to Circuitronix for a total of

  $1,236.17. To date, Circuitronix has paid no portion of the amount owed.

         212.   Invoice CCT-BLD-190820002 was issued by Benlida to Circuitronix for a total of

  $32,551.45. To date, Circuitronix has paid no portion of the amount owed.

         213.   Invoice CCT-BLD-19082201 was issued by Benlida to Circuitronix for a total of

  $16,727.60. To date, Circuitronix has paid no portion of the amount owed.




                                                24
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 25 of 49




         214.   Invoice CCT-BLD-19082202 was issued by Benlida to Circuitronix for a total of

  $345.60. To date, Circuitronix has paid no portion of the amount owed.

         215.   Invoice CCT-BLD-190823001 was issued by Benlida to Circuitronix for a total of

  $748.09. To date, Circuitronix has paid no portion of the amount owed.

         216.   Invoice CCT-BLD-190823002 was issued by Benlida to Circuitronix for a total of

  $7,313.84. To date, Circuitronix has paid no portion of the amount owed.

         217.   Invoice CCT-BLD-190823003 was issued by Benlida to Circuitronix for a total of

  $178.80. To date, Circuitronix has paid no portion of the amount owed.

         218.   Invoice CCT-BLD-190827001 was issued by Benlida to Circuitronix for a total of

  $6,590.85. To date, Circuitronix has paid no portion of the amount owed.

         219.   Invoice CCT-BLD-190827002 was issued by Benlida to Circuitronix for a total of

  $4,092.65. To date, Circuitronix has paid no portion of the amount owed.

         220.   Invoice CCT-BLD-190830001 was issued by Benlida to Circuitronix for a total of

  $3,997.68. To date, Circuitronix has paid no portion of the amount owed.

         221.   Invoice CCT-BLD-190830002 was issued by Benlida to Circuitronix for a total of

  $20,555.01. To date, Circuitronix has paid no portion of the amount owed.

         222.   Invoice CCT-BLD-19083001 was issued by Benlida to Circuitronix for a total of

  $22,686.30. To date, Circuitronix has paid no portion of the amount owed.

         223.   Invoice CCT-BLD-190903001 was issued by Benlida to Circuitronix for a total of

  $9,162.71. To date, Circuitronix has paid no portion of the amount owed.




                                                25
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 26 of 49




         224.   Invoice CCT-BLD-190903002 was issued by Benlida to Circuitronix for a total of

  $13,790.78. To date, Circuitronix has paid no portion of the amount owed.

         225.   Invoice CCT-BLD-190906001 was issued by Benlida to Circuitronix for a total of

  $4,116.02. To date, Circuitronix has paid no portion of the amount owed.

         226.   Invoice CCT-BLD-190906002 was issued by Benlida to Circuitronix for a total of

  $31,838.49. To date, Circuitronix has paid no portion of the amount owed.

         227.   Invoice CCT-BLD-190906003 was issued by Benlida to Circuitronix for a total of

  $21,366.60. To date, Circuitronix has paid no portion of the amount owed.

         228.   Invoice CCT-BLD-190910001 was issued by Benlida to Circuitronix for a total of

  $19,294.92. To date, Circuitronix has paid no portion of the amount owed.

         229.   Invoice CCT-BLD-190910002 was issued by Benlida to Circuitronix for a total of

  $16,553.81. To date, Circuitronix has paid no portion of the amount owed.

         230.   Invoice CCT-BLD-190911001 was issued by Benlida to Circuitronix for a total of

  $977.45. To date, Circuitronix has paid no portion of the amount owed.

         231.   Invoice CCT-BLD-190911002 was issued by Benlida to Circuitronix for a total of

  $5,211.95. To date, Circuitronix has paid no portion of the amount owed.

         232.   Invoice CCT-BLD-190912A was issued by Benlida to Circuitronix for a total of

  $13,646.20. To date, Circuitronix has paid no portion of the amount owed.

         233.   Invoice CCT-BLD-19091701 was issued by Benlida to Circuitronix for a total of

  $1,348.50. To date, Circuitronix has paid no portion of the amount owed.




                                                26
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 27 of 49




         234.   Invoice CCT-BLD-19091702 was issued by Benlida to Circuitronix for a total of

  $4,146.88. To date, Circuitronix has paid no portion of the amount owed.

         235.   Invoice CCT-BLD-190920001 was issued by Benlida to Circuitronix for a total of

  $17,694.65. To date, Circuitronix has paid no portion of the amount owed.

         236.   Invoice CCT-BLD-190920003 was issued by Benlida to Circuitronix for a total of

  $2,030.63. To date, Circuitronix has paid no portion of the amount owed.

         237.   Invoice CCT-BLD-190924001 was issued by Benlida to Circuitronix for a total of

  $3,069.00. To date, Circuitronix has paid no portion of the amount owed.

         238.   Invoice CCT-BLD-190924002 was issued by Benlida to Circuitronix for a total of

  $1,315.00. To date, Circuitronix has paid no portion of the amount owed.

         239.   Invoice CCT-BLD-190927001 was issued by Benlida to Circuitronix for a total of

  $619.20. To date, Circuitronix has paid no portion of the amount owed.

         240.   Invoice CCT-BLD-190927002 was issued by Benlida to Circuitronix for a total of

  $1,809.53. To date, Circuitronix has paid no portion of the amount owed.

         241.   Invoice CCT-BLD-19092901 was issued by Benlida to Circuitronix for a total of

  $1,296.07. To date, Circuitronix has paid no portion of the amount owed.

         242.   Invoice CCT-BLD-19092902 was issued by Benlida to Circuitronix for a total of

  $45.30. To date, Circuitronix has paid no portion of the amount owed.

         243.   Invoice CCT-BLD-191008001 was issued by Benlida to Circuitronix for a total of

  $1,742.85. To date, Circuitronix has paid no portion of the amount owed.




                                                27
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 28 of 49




         244.   Invoice CCT-BLD-191008002 was issued by Benlida to Circuitronix for a total of

  $3,654.20. To date, Circuitronix has paid no portion of the amount owed.

         245.   Invoice CCT-BLD-191011001 was issued by Benlida to Circuitronix for a total of

  $171.60. To date, Circuitronix has paid no portion of the amount owed.

         246.   Invoice CCT-BLD-191011002 was issued by Benlida to Circuitronix for a total of

  $1,068.29. To date, Circuitronix has paid no portion of the amount owed.

         247.   Invoice CCT-BLD-191015001 was issued by Benlida to Circuitronix for a total of

  $8,197.93. To date, Circuitronix has paid no portion of the amount owed.

         248.   Invoice CCT-BLD-191015002 was issued by Benlida to Circuitronix for a total of

  $1,271.30. To date, Circuitronix has paid no portion of the amount owed.

         249.   Invoice CCT-BLD-191018001 was issued by Benlida to Circuitronix for a total of

  $14,698.60. To date, Circuitronix has paid no portion of the amount owed.

         250.   Invoice CCT-BLD-191018002 was issued by Benlida to Circuitronix for a total of

  $1,300.80. To date, Circuitronix has paid no portion of the amount owed.

         251.   Invoice CCT-BLD-191022001 was issued by Benlida to Circuitronix for a total of

  $137.03. To date, Circuitronix has paid no portion of the amount owed.

         252.   Invoice CCT-BLD-191022002 was issued by Benlida to Circuitronix for a total of

  $895.97. To date, Circuitronix has paid no portion of the amount owed.

         253.   Invoice CCT-BLD-191025A was issued by Benlida to Circuitronix for a total of

  $948.00. To date, Circuitronix has paid no portion of the amount owed.




                                                28
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 29 of 49




         254.   Invoice CCT-BLD-19103002 was issued by Benlida to Circuitronix for a total of

  $146.52. To date, Circuitronix has paid no portion of the amount owed.

         255.   Invoice CCT-BLD-19110601 was issued by Benlida to Circuitronix for a total of

  $46.19. To date, Circuitronix has paid no portion of the amount owed.

         256.   Invoice CCT-BLD-19120402 was issued by Benlida to Circuitronix for a total of

  $9.99. To date, Circuitronix has paid no portion of the amount owed.

         257.   Invoice CCT-BLD-19121802 was issued by Benlida to Circuitronix for a total of

  $1,227.18. To date, Circuitronix has paid no portion of the amount owed.

         258.   Invoice CCT-BLD-190921INV PRO was issued by Benlida to Circuitronix for a

  total of $40,049.40. To date, Circuitronix has paid no portion of the amount owed.

         259.   Invoice BLDCCT-HK181218001 was issued by Benlida to Circuitronix for a total

  of $107,965.37. Of this amount, Circuitronix paid $11,569.69, leaving a balance of $96,396.08.

  To date, Circuitronix has not paid the remainder of this balance owed.

         260.   Invoice BLDCCT-HK181221001 was issued by Benlida to Circuitronix for a total

  of $82,678.18. To date, Circuitronix has paid no portion of the amount owed.

         261.   Invoice BLDCCT-HK18122101 was issued by Benlida to Circuitronix for a total

  of $30,611.09. To date, Circuitronix has paid no portion of the amount owed.

         262.   Invoice BLDCCT-HK181229001 was issued by Benlida to Circuitronix for a total

  of $82,819.75. To date, Circuitronix has paid no portion of the amount owed.

         263.   Invoice BLDCCT-HK181229002 was issued by Benlida to Circuitronix for a total

  of $98,589.22. To date, Circuitronix has paid no portion of the amount owed.



                                                 29
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 30 of 49




         264.   Invoice BLDCCT-HK181231001 was issued by Benlida to Circuitronix for a total

  of $34,974.50. To date, Circuitronix has paid no portion of the amount owed.

         265.   Invoice BLDCCT-HK181231002 was issued by Benlida to Circuitronix for a total

  of $13,863.50. To date, Circuitronix has paid no portion of the amount owed.

         266.   Invoice BLDCCT-HK190104001 was issued by Benlida to Circuitronix for a total

  of $61,524.95. To date, Circuitronix has paid no portion of the amount owed.

         267.   Invoice BLDCCT-HK19010401 was issued by Benlida to Circuitronix for a total

  of $11,722.07. To date, Circuitronix has paid no portion of the amount owed.

         268.   Invoice BLDCCT-HK190108001 was issued by Benlida to Circuitronix for a total

  of $57,377.87. To date, Circuitronix has paid no portion of the amount owed.

         269.   Invoice BLDCCT-HK190111001 was issued by Benlida to Circuitronix for a total

  of $77,139.78. To date, Circuitronix has paid no portion of the amount owed.

         270.   Invoice BLDCCT-HK190111002 was issued by Benlida to Circuitronix for a total

  of $44,149.06. To date, Circuitronix has paid no portion of the amount owed.

         271.   Invoice BLDCCT-HK19011101 was issued by Benlida to Circuitronix for a total

  of $5,078.23. To date, Circuitronix has paid no portion of the amount owed.

         272.   Invoice BLDCCT-HK190115001 was issued by Benlida to Circuitronix for a total

  of $77,790.80. To date, Circuitronix has paid no portion of the amount owed.

         273.   Invoice BLDCCT-HK190115002 was issued by Benlida to Circuitronix for a total

  of $52,647.19. To date, Circuitronix has paid no portion of the amount owed.




                                                30
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 31 of 49




         274.   Invoice BLDCCT-HK190118001 was issued by Benlida to Circuitronix for a total

  of $78,835.11. To date, Circuitronix has paid no portion of the amount owed.

         275.   Invoice BLDCCT-HK190118002 was issued by Benlida to Circuitronix for a total

  of $37,790.10. To date, Circuitronix has paid no portion of the amount owed.

         276.   Invoice BLDCCT-HK19011801 was issued by Benlida to Circuitronix for a total

  of $28,940.18. To date, Circuitronix has paid no portion of the amount owed.

         277.   Invoice BLDCCT-HK19012101 was issued by Benlida to Circuitronix for a total

  of $33,134.91. To date, Circuitronix has paid no portion of the amount owed.

         278.   Invoice BLDCCT-HK190122001 was issued by Benlida to Circuitronix for a total

  of $78,895.43. To date, Circuitronix has paid no portion of the amount owed.

         279.   Invoice BLDCCT-HK19012401 was issued by Benlida to Circuitronix for a total

  of $43,577.36. To date, Circuitronix has paid no portion of the amount owed.

         280.   Invoice BLDCCT-HK190125001 was issued by Benlida to Circuitronix for a total

  of $67,447.02. To date, Circuitronix has paid no portion of the amount owed.

         281.   Invoice BLDCCT-HK190129001 was issued by Benlida to Circuitronix for a total

  of $56,164.05. To date, Circuitronix has paid no portion of the amount owed.

         282.   Invoice BLDCCT-HK190129A was issued by Benlida to Circuitronix for a total

  of $96,448.00. To date, Circuitronix has paid no portion of the amount owed.

         283.   Invoice BLDCCT-HK190129B was issued by Benlida to Circuitronix for a total

  of $40,096.73. To date, Circuitronix has paid no portion of the amount owed.




                                                31
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 32 of 49




         284.   Invoice BLDCCT-HK19020101 was issued by Benlida to Circuitronix for a total

  of $65,247.85. To date, Circuitronix has paid no portion of the amount owed.

         285.   Invoice BLDCCT-HK19020102 was issued by Benlida to Circuitronix for a total

  of $80,704.54. To date, Circuitronix has paid no portion of the amount owed.

         286.   Invoice BLDCCT-HK190215001 was issued by Benlida to Circuitronix for a total

  of $12,847.61. To date, Circuitronix has paid no portion of the amount owed.

         287.   Invoice BLDCCT-HK19021801 was issued by Benlida to Circuitronix for a total

  of $32,413.00. To date, Circuitronix has paid no portion of the amount owed.

         288.   Invoice BLDCCT-HK190219001 was issued by Benlida to Circuitronix for a total

  of $34,630.04. To date, Circuitronix has paid no portion of the amount owed.

         289.   Invoice BLDCCT-HK190222001 was issued by Benlida to Circuitronix for a total

  of $40,468.65. To date, Circuitronix has paid no portion of the amount owed.

         290.   Invoice BLDCCT-HK19022201 was issued by Benlida to Circuitronix for a total

  of $60,248.27. To date, Circuitronix has paid no portion of the amount owed.

         291.   Invoice BLDCCT-HK190226001 was issued by Benlida to Circuitronix for a total

  of $43,311.58. To date, Circuitronix has paid no portion of the amount owed.

         292.   Invoice BLDCCT-HK190226002 was issued by Benlida to Circuitronix for a total

  of $41,265.65. To date, Circuitronix has paid no portion of the amount owed.

         293.   Invoice BLDCCT-HK190301001 was issued by Benlida to Circuitronix for a total

  of $53,035.32. To date, Circuitronix has paid no portion of the amount owed.




                                                32
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 33 of 49




         294.   Invoice BLDCCT-HK19030101 was issued by Benlida to Circuitronix for a total

  of $19,980.37. To date, Circuitronix has paid no portion of the amount owed.

         295.   Invoice BLDCCT-HK190305001 was issued by Benlida to Circuitronix for a total

  of $65,462.16. To date, Circuitronix has paid no portion of the amount owed.

         296.   Invoice BLDCCT-HK190305002 was issued by Benlida to Circuitronix for a total

  of $14,808.67. To date, Circuitronix has paid no portion of the amount owed.

         297.   Invoice BLDCCT-HK190308001 was issued by Benlida to Circuitronix for a total

  of $83,447.90. To date, Circuitronix has paid no portion of the amount owed.

         298.   Invoice BLDCCT-HK19030801 was issued by Benlida to Circuitronix for a total

  of $36,460.00. To date, Circuitronix has paid no portion of the amount owed.

         299.   Invoice BLDCCT-HK190311 was issued by Benlida to Circuitronix for a total of

  $47.65. To date, Circuitronix has paid no portion of the amount owed.

         300.   Invoice BLDCCT-HK190312001 was issued by Benlida to Circuitronix for a total

  of $58,827.32. To date, Circuitronix has paid no portion of the amount owed.

         301.   Invoice BLDCCT-HK19031201 was issued by Benlida to Circuitronix for a total

  of $32,287.05. To date, Circuitronix has paid no portion of the amount owed.

         302.   Invoice BLDCCT-HK190315001 was issued by Benlida to Circuitronix for a total

  of $58,178.88. To date, Circuitronix has paid no portion of the amount owed.

         303.   Invoice BLDCCT-HK190315002 was issued by Benlida to Circuitronix for a total

  of $28,849.62. To date, Circuitronix has paid no portion of the amount owed.




                                                33
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 34 of 49




         304.   Invoice BLDCCT-HK190316A was issued by Benlida to Circuitronix for a total

  of $1,990.80. To date, Circuitronix has paid no portion of the amount owed.

         305.   Invoice BLDCCT-HK190319001 was issued by Benlida to Circuitronix for a total

  of $73,311.96. To date, Circuitronix has paid no portion of the amount owed.

         306.   Invoice BLDCCT-HK190319002 was issued by Benlida to Circuitronix for a total

  of $22,725.18. To date, Circuitronix has paid no portion of the amount owed.

         307.   Invoice BLDCCT-HK19031901 was issued by Benlida to Circuitronix for a total

  of $26,613.19. To date, Circuitronix has paid no portion of the amount owed.

         308.   Invoice BLDCCT-HK190322001 was issued by Benlida to Circuitronix for a total

  of $47,554.59. To date, Circuitronix has paid no portion of the amount owed.

         309.   Invoice BLDCCT-HK190322002 was issued by Benlida to Circuitronix for a total

  of $21,393.49. To date, Circuitronix has paid no portion of the amount owed.

         310.   Invoice BLDCCT-HK19032501 was issued by Benlida to Circuitronix for a total

  of $14,506.71. To date, Circuitronix has paid no portion of the amount owed.

         311.   Invoice BLDCCT-HK190326001 was issued by Benlida to Circuitronix for a total

  of $45,257.31. To date, Circuitronix has paid no portion of the amount owed.

         312.   Invoice BLDCCT-HK190326002 was issued by Benlida to Circuitronix for a total

  of $68,378.27. To date, Circuitronix has paid no portion of the amount owed.

         313.   Invoice BLDCCT-HK190329001 was issued by Benlida to Circuitronix for a total

  of $29,669.73. To date, Circuitronix has paid no portion of the amount owed.




                                                34
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 35 of 49




         314.    Invoice BLDCCT-HK190329002 was issued by Benlida to Circuitronix for a total

  of $28,820.51. To date, Circuitronix has paid no portion of the amount owed.

         315.    Invoice CCT-BLD-190329001(HK) was issued by Benlida to Circuitronix for a

  total of $30.94. To date, Circuitronix has paid no portion of the amount owed.

         316.    Invoice BLDCCT-HK19040201 was issued by Benlida to Circuitronix for a total

  of $3,733.80. To date, Circuitronix has paid no portion of the amount owed.

         317.    Invoice BLDCCT-HK190403001 was issued by Benlida to Circuitronix for a total

  of $81,914.23. To date, Circuitronix has paid no portion of the amount owed.

         318.    Invoice BLDCCT-HK190403002 was issued by Benlida to Circuitronix for a total

  of $11,325.13. To date, Circuitronix has paid no portion of the amount owed.

         319.    Invoice BLDCCT-HK19040801 was issued by Benlida to Circuitronix for a total

  of $3,022.60. To date, Circuitronix has paid no portion of the amount owed.

         320.    Invoice BLDCCT-HK190409002 was issued by Benlida to Circuitronix for a total

  of $1,776.01. To date, Circuitronix has paid no portion of the amount owed.

         321.    Invoice BLDCCT-HK190409001 was issued by Benlida to Circuitronix for a total

  of $22,489.12. To date, Circuitronix has paid no portion of the amount owed.

         322.    Invoice BLDCCT-HK190412002 was issued by Benlida to Circuitronix for a total

  of $3,372.18. To date, Circuitronix has paid no portion of the amount owed.

         323.    Invoice BLDCCT-HK190412001 was issued by Benlida to Circuitronix for a total

  of $60,529.12. To date, Circuitronix has paid no portion of the amount owed.




                                                 35
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 36 of 49




         324.   Invoice BLDCCT-HK190416001 was issued by Benlida to Circuitronix for a total

  of $34,964.76. To date, Circuitronix has paid no portion of the amount owed.

         325.   Invoice BLDCCT-HK19041701 was issued by Benlida to Circuitronix for a total

  of $2,753.39. To date, Circuitronix has paid no portion of the amount owed.

         326.   Invoice BLDCCT-HK19041901 was issued by Benlida to Circuitronix for a total

  of $360.75. To date, Circuitronix has paid no portion of the amount owed.

         327.   Invoice BLDCCT-HK190419002 was issued by Benlida to Circuitronix for a total

  of $101.35. To date, Circuitronix has paid no portion of the amount owed.

         328.   Invoice BLDCCT-HK190419001 was issued by Benlida to Circuitronix for a total

  of $64,181.96. To date, Circuitronix has paid no portion of the amount owed.

         329.   Invoice BLDCCT-HK19042201 was issued by Benlida to Circuitronix for a total

  of $4,656.00. To date, Circuitronix has paid no portion of the amount owed.

         330.   Invoice BLDCCT-HK190423002 was issued by Benlida to Circuitronix for a total

  of $1,751.09. To date, Circuitronix has paid no portion of the amount owed.

         331.   Invoice BLDCCT-HK190423001 was issued by Benlida to Circuitronix for a total

  of $51,676.74. To date, Circuitronix has paid no portion of the amount owed.

         332.   Invoice BLDCCT-HK190426002 was issued by Benlida to Circuitronix for a total

  of $4,943.12. To date, Circuitronix has paid no portion of the amount owed.

         333.   Invoice BLDCCT-HK190426001 was issued by Benlida to Circuitronix for a total

  of $60,786.37. To date, Circuitronix has paid no portion of the amount owed.




                                                36
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 37 of 49




         334.   Invoice BLDCCT-HK19042901 was issued by Benlida to Circuitronix for a total

  of $10,855.30. To date, Circuitronix has paid no portion of the amount owed.

         335.   Invoice BLDCCT-HK190429001 was issued by Benlida to Circuitronix for a total

  of $36,139.20. To date, Circuitronix has paid no portion of the amount owed.

         336.   Invoice CCT-BLD-190403002(HK) was issued by Benlida to Circuitronix for a

  total of $8,217.30. To date, Circuitronix has paid no portion of the amount owed.

         337.   Invoice CCT-BLD-190409002(HK) was issued by Benlida to Circuitronix for a

  total of $655.20. To date, Circuitronix has paid no portion of the amount owed.

         338.   Invoice CCT-BLD-190412001(HK) was issued by Benlida to Circuitronix for a

  total of $4,746.56. To date, Circuitronix has paid no portion of the amount owed.

         339.   Invoice BLDCCT-HK19050601 was issued by Benlida to Circuitronix for a total

  of $3,336.80. To date, Circuitronix has paid no portion of the amount owed.

         340.   Invoice BLDCCT-HK190507001 was issued by Benlida to Circuitronix for a total

  of $49,731.42. To date, Circuitronix has paid no portion of the amount owed.

         341.   Invoice BLDCCT-HK190507002 was issued by Benlida to Circuitronix for a total

  of $32,217.25. To date, Circuitronix has paid no portion of the amount owed.

         342.   Invoice BLDCCT-HK190510001 was issued by Benlida to Circuitronix for a total

  of $54,405.26. To date, Circuitronix has paid no portion of the amount owed.

         343.   Invoice BLDCCT-HK190510002 was issued by Benlida to Circuitronix for a total

  of $4,190.40. To date, Circuitronix has paid no portion of the amount owed.




                                                 37
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 38 of 49




         344.   Invoice BLDCCT-HK19051301 was issued by Benlida to Circuitronix for a total

  of $7,030.56. To date, Circuitronix has paid no portion of the amount owed.

         345.   Invoice BLDCCT-HK190514001 was issued by Benlida to Circuitronix for a total

  of $31,886.38. To date, Circuitronix has paid no portion of the amount owed.

         346.   Invoice BLDCCT-HK190517001 was issued by Benlida to Circuitronix for a total

  of $32,704.36. To date, Circuitronix has paid no portion of the amount owed.

         347.   Invoice BLDCCT-HK190517002 was issued by Benlida to Circuitronix for a total

  of $1,621.06. To date, Circuitronix has paid no portion of the amount owed.

         348.   Invoice BLDCCT-HK190521001 was issued by Benlida to Circuitronix for a total

  of $49,919.80. To date, Circuitronix has paid no portion of the amount owed.

         349.   Invoice BLDCCT-HK190521002 was issued by Benlida to Circuitronix for a total

  of $6,277.50. To date, Circuitronix has paid no portion of the amount owed.

         350.   Invoice BLDCCT-HK19052101 was issued by Benlida to Circuitronix for a total

  of $15,062.82. To date, Circuitronix has paid no portion of the amount owed.

         351.   Invoice BLDCCT-HK190524001 was issued by Benlida to Circuitronix for a total

  of $33,448.90. To date, Circuitronix has paid no portion of the amount owed.

         352.   Invoice BLDCCT-HK190524002 was issued by Benlida to Circuitronix for a total

  of $10,564.22. To date, Circuitronix has paid no portion of the amount owed.

         353.   Invoice BLDCCT-HK190528001 was issued by Benlida to Circuitronix for a total

  of $35,270.16. To date, Circuitronix has paid no portion of the amount owed.




                                                38
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 39 of 49




         354.   Invoice BLDCCT-HK19052801 was issued by Benlida to Circuitronix for a total

  of $6,921.19. To date, Circuitronix has paid no portion of the amount owed.

         355.   Invoice BLDCCT-HK190531001 was issued by Benlida to Circuitronix for a total

  of $15,702.68. To date, Circuitronix has paid no portion of the amount owed.

         356.   Invoice BLDCCT-HK190604001 was issued by Benlida to Circuitronix for a total

  of $25,461.66. To date, Circuitronix has paid no portion of the amount owed.

         357.   Invoice BLDCCT-HK190604002 was issued by Benlida to Circuitronix for a total

  of $3,487.69. To date, Circuitronix has paid no portion of the amount owed.

         358.   Invoice BLDCCT-HK19060501 was issued by Benlida to Circuitronix for a total

  of $22,610.70. To date, Circuitronix has paid no portion of the amount owed.

         359.   Invoice BLDCCT-HK190606001 was issued by Benlida to Circuitronix for a total

  of $423.92. To date, Circuitronix has paid no portion of the amount owed.

         360.   Invoice BLDCCT-HK190611001 was issued by Benlida to Circuitronix for a total

  of $7,201.83. To date, Circuitronix has paid no portion of the amount owed.

         361.   Invoice BLDCCT-HK190611002 was issued by Benlida to Circuitronix for a total

  of $13,518.63. To date, Circuitronix has paid no portion of the amount owed.

         362.   Invoice BLDCCT-HK19061201 was issued by Benlida to Circuitronix for a total

  of $2,283.31. To date, Circuitronix has paid no portion of the amount owed.

         363.   Invoice BLDCCT-HK19061202 was issued by Benlida to Circuitronix for a total

  of $3,765.74. To date, Circuitronix has paid no portion of the amount owed.




                                                39
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 40 of 49




         364.   Invoice BLDCCT-HK190614001 was issued by Benlida to Circuitronix for a total

  of $13,137.71. To date, Circuitronix has paid no portion of the amount owed.

         365.   Invoice BLDCCT-HK190614002 was issued by Benlida to Circuitronix for a total

  of $18,568.46. To date, Circuitronix has paid no portion of the amount owed.

         366.   Invoice BLDCCT-HK190618001 was issued by Benlida to Circuitronix for a total

  of $40,098.04. To date, Circuitronix has paid no portion of the amount owed.

         367.   Invoice BLDCCT-HK190621001 was issued by Benlida to Circuitronix for a total

  of $24,854.45. To date, Circuitronix has paid no portion of the amount owed.

         368.   Invoice BLDCCT-HK190621002 was issued by Benlida to Circuitronix for a total

  of $19,674.30. To date, Circuitronix has paid no portion of the amount owed.

         369.   Invoice BLDCCT-HK19062101 was issued by Benlida to Circuitronix for a total

  of $6,833.89. To date, Circuitronix has paid no portion of the amount owed.

         370.   Invoice BLDCCT-HK19062102 was issued by Benlida to Circuitronix for a total

  of $4,812.55. To date, Circuitronix has paid no portion of the amount owed.

         371.   Invoice BLDCCT-HK190625001 was issued by Benlida to Circuitronix for a total

  of $24,283.67. To date, Circuitronix has paid no portion of the amount owed.

         372.   Invoice BLDCCT-HK19062501 was issued by Benlida to Circuitronix for a total

  of $10,360.79. To date, Circuitronix has paid no portion of the amount owed.

         373.   Invoice BLDCCT-HK19062502 was issued by Benlida to Circuitronix for a total

  of $3,744.78. To date, Circuitronix has paid no portion of the amount owed.




                                                40
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 41 of 49




         374.   Invoice BLDCCT-HK190628001 was issued by Benlida to Circuitronix for a total

  of $28,316.20. To date, Circuitronix has paid no portion of the amount owed.

         375.   Invoice BLDCCT-HK190628002 was issued by Benlida to Circuitronix for a total

  of $3,549.00. To date, Circuitronix has paid no portion of the amount owed.

         376.   Invoice BLDCCT-HK190702001 was issued by Benlida to Circuitronix for a total

  of $17,108.42. To date, Circuitronix has paid no portion of the amount owed.

         377.   Invoice BLDCCT-HK190705001 was issued by Benlida to Circuitronix for a total

  of $5,566.29. To date, Circuitronix has paid no portion of the amount owed.

         378.   Invoice BLDCCT-HK19070501 was issued by Benlida to Circuitronix for a total

  of $5,715.75. To date, Circuitronix has paid no portion of the amount owed.

         379.   Invoice BLDCCT-HK19070502 was issued by Benlida to Circuitronix for a total

  of $1,092.00. To date, Circuitronix has paid no portion of the amount owed.

         380.   Invoice BLDCCT-HK190709001 was issued by Benlida to Circuitronix for a total

  of $8,456.01. To date, Circuitronix has paid no portion of the amount owed.

         381.   Invoice BLDCCT-HK190709002 was issued by Benlida to Circuitronix for a total

  of $273.00. To date, Circuitronix has paid no portion of the amount owed.

         382.   Invoice BLDCCT-HK190712001 was issued by Benlida to Circuitronix for a total

  of $5,543.88. To date, Circuitronix has paid no portion of the amount owed.

         383.   Invoice BLDCCT-HK19071201 was issued by Benlida to Circuitronix for a total

  of $7,164.00. To date, Circuitronix has paid no portion of the amount owed.




                                                41
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 42 of 49




         384.   Invoice BLDCCT-HK19071202 was issued by Benlida to Circuitronix for a total

  of $22,016.04. To date, Circuitronix has paid no portion of the amount owed.

         385.   Invoice BLDCCT-HK19071801 was issued by Benlida to Circuitronix for a total

  of $3,142.85. To date, Circuitronix has paid no portion of the amount owed.

         386.   Invoice BLDCCT-HK19071802 was issued by Benlida to Circuitronix for a total

  of $20,446.39. To date, Circuitronix has paid no portion of the amount owed.

         387.   Invoice BLDCCT-HK190719001 was issued by Benlida to Circuitronix for a total

  of $25,334.74. To date, Circuitronix has paid no portion of the amount owed.

         388.   Invoice BLDCCT-HK190719A was issued by Benlida to Circuitronix for a total

  of $4,387.20. To date, Circuitronix has paid no portion of the amount owed.

         389.   Invoice BLDCCT-HK190723001 was issued by Benlida to Circuitronix for a total

  of $28,500.72. To date, Circuitronix has paid no portion of the amount owed.

         390.   Invoice BLDCCT-HK19072301 was issued by Benlida to Circuitronix for a total

  of $12,835.53. To date, Circuitronix has paid no portion of the amount owed.

         391.   Invoice BLDCCT-HK19072302 was issued by Benlida to Circuitronix for a total

  of $20,737.49. To date, Circuitronix has paid no portion of the amount owed.

         392.   Invoice BLDCCT-HK190726001 was issued by Benlida to Circuitronix for a total

  of $32,393.97. To date, Circuitronix has paid no portion of the amount owed.

         393.   Invoice BLDCCT-HK190726002 was issued by Benlida to Circuitronix for a total

  of $2,629.59. To date, Circuitronix has paid no portion of the amount owed.




                                                42
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 43 of 49




         394.   Invoice BLDCCT-HK190730001 was issued by Benlida to Circuitronix for a total

  of $23,964.95. To date, Circuitronix has paid no portion of the amount owed.

         395.   Invoice BLDCCT-HK190730002 was issued by Benlida to Circuitronix for a total

  of $7,181.58. To date, Circuitronix has paid no portion of the amount owed.

         396.   Invoice BLDCCT-HK190802001 was issued by Benlida to Circuitronix for a total

  of $2,022.19. To date, Circuitronix has paid no portion of the amount owed.

         397.   Invoice BLDCCT-HK19080201 was issued by Benlida to Circuitronix for a total

  of $112.77. To date, Circuitronix has paid no portion of the amount owed.

         398.   Invoice BLDCCT-HK19080202 was issued by Benlida to Circuitronix for a total

  of $9,762.08. To date, Circuitronix has paid no portion of the amount owed.

         399.   Invoice BLDCCT-HK190806001 was issued by Benlida to Circuitronix for a total

  of $6,375.00. To date, Circuitronix has paid no portion of the amount owed.

         400.   Invoice BLDCCT-HK19080601 was issued by Benlida to Circuitronix for a total

  of $15,548.39. To date, Circuitronix has paid no portion of the amount owed.

         401.   Invoice BLDCCT-HK19080602 was issued by Benlida to Circuitronix for a total

  of $33,147.26. To date, Circuitronix has paid no portion of the amount owed.

         402.   Invoice BLDCCT-HK190809001 was issued by Benlida to Circuitronix for a total

  of $2,499.05. To date, Circuitronix has paid no portion of the amount owed.

         403.   Invoice BLDCCT-HK190809002 was issued by Benlida to Circuitronix for a total

  of $2,100.88. To date, Circuitronix has paid no portion of the amount owed.




                                                43
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 44 of 49




         404.   Invoice BLDCCT-HK19081501 was issued by Benlida to Circuitronix for a total

  of $51,470.20. To date, Circuitronix has paid no portion of the amount owed.

         405.   Invoice BLDCCT-HK19081502 was issued by Benlida to Circuitronix for a total

  of $163.38. To date, Circuitronix has paid no portion of the amount owed.

         406.   Invoice BLDCCT-HK190816001 was issued by Benlida to Circuitronix for a total

  of $7,111.61. To date, Circuitronix has paid no portion of the amount owed.

         407.   Invoice BLDCCT-HK190820001 was issued by Benlida to Circuitronix for a total

  of $8,427.36. To date, Circuitronix has paid no portion of the amount owed.

         408.   Invoice BLDCCT-HK190820002 was issued by Benlida to Circuitronix for a total

  of $11,521.56. To date, Circuitronix has paid no portion of the amount owed.

         409.   Invoice BLDCCT-HK19082201 was issued by Benlida to Circuitronix for a total

  of $1,347.22. To date, Circuitronix has paid no portion of the amount owed.

         410.   Invoice BLDCCT-HK190827001 was issued by Benlida to Circuitronix for a total

  of $4,811.20. To date, Circuitronix has paid no portion of the amount owed.

         411.   Invoice BLDCCT-HK190827002 was issued by Benlida to Circuitronix for a total

  of $7,909.91. To date, Circuitronix has paid no portion of the amount owed.

         412.   Invoice BLDCCT-HK190830001 was issued by Benlida to Circuitronix for a total

  of $4,667.64. To date, Circuitronix has paid no portion of the amount owed.

         413.   Invoice BLDCCT-HK19083001 was issued by Benlida to Circuitronix for a total

  of $7,625.77. To date, Circuitronix has paid no portion of the amount owed.




                                                44
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 45 of 49




         414.   Invoice BLDCCT-HK190903002 was issued by Benlida to Circuitronix for a total

  of $3,581.96. To date, Circuitronix has paid no portion of the amount owed.

         415.   Invoice BLDCCT-HK19090601 was issued by Benlida to Circuitronix for a total

  of $3,432.00. To date, Circuitronix has paid no portion of the amount owed.

         416.   Invoice BLDCCT-HK190910002 was issued by Benlida to Circuitronix for a total

  of $2,164.50. To date, Circuitronix has paid no portion of the amount owed.

         417.   Invoice BLDCCT-HK19091001 was issued by Benlida to Circuitronix for a total

  of $148.50. To date, Circuitronix has paid no portion of the amount owed.

         418.   Invoice BLDCCT-HK19091701 was issued by Benlida to Circuitronix for a total

  of $1,361.16. To date, Circuitronix has paid no portion of the amount owed.

         419.   Invoice BLDCCT-HK190920002 was issued by Benlida to Circuitronix for a total

  of $5,042.85. To date, Circuitronix has paid no portion of the amount owed.

         420.   Invoice BLDCCT-HK19092001 was issued by Benlida to Circuitronix for a total

  of $1,126.89. To date, Circuitronix has paid no portion of the amount owed.

         421.   Invoice BLDCCT-HK19092401 was issued by Benlida to Circuitronix for a total

  of $184.14. To date, Circuitronix has paid no portion of the amount owed.

         422.   Invoice BLDCCT-HK19092402 was issued by Benlida to Circuitronix for a total

  of $5,447.84. To date, Circuitronix has paid no portion of the amount owed.

         423.   Invoice BLDCCT-HK191008001 was issued by Benlida to Circuitronix for a total

  of $1,836.06. To date, Circuitronix has paid no portion of the amount owed.




                                                45
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 46 of 49




          424.   Invoice BLDCCT-HK191008002 was issued by Benlida to Circuitronix for a total

  of $5,960.59. To date, Circuitronix has paid no portion of the amount owed.

          425.   Invoice BLDCCT-HK191011002 was issued by Benlida to Circuitronix for a total

  of $5,788.74. To date, Circuitronix has paid no portion of the amount owed.

          426.   Invoice BLDCCT-HK191015002 was issued by Benlida to Circuitronix for a total

  of $216.45. To date, Circuitronix has paid no portion of the amount owed.

          427.   Invoice BLDCCT-HK191018002 was issued by Benlida to Circuitronix for a total

  of $2,669.55. To date, Circuitronix has paid no portion of the amount owed.

          428.   Invoice BLDCCT-HK19111902 was issued by Benlida to Circuitronix for a total

  of $88.18. To date, Circuitronix has paid no portion of the amount owed.

          429.   Invoice BLDCCT-HK190926INV PRO was issued by Benlida to Circuitronix for

  a total of $902.02. To date, Circuitronix has paid no portion of the amount owed.

                                    Agreed-Upon Price Increases
          430.   The parties met and conferred from time to time to discuss the pricing of the

  goods and other related issues.

          431.   Specifically, on December 13th and 14th of 2016, the parties agreed to price

  increases of 4% and 5% with respect to the foregoing invoices, based upon certain specifications.

          432.   The agreement was memorialized in meeting minutes, mutually consented to by

  the parties.

          433.   Such consent was memorialized on October 20, 2017.

          434.   Pursuant to the agreement, as to which there was due consideration, there is an

  additional $2,115,927.57 owed.

                                                 46
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 47 of 49




            435.   Based upon the invoiced amount of $11,539,408.36 plus $2,115,927.57 as the

  agreed-upon price increase, Circuitronix is liable to Benlida for $13,655,335.93, plus interest at

  the statutory rate and costs.

                               First Cause of Action: Breach of Contract
            436.   Plaintiff repeats and re-alleges the foregoing paragraphs as if set forth here at full

  length.

            437.   In exchange for the circuit boards manufactured by plaintiff Benlida and sold to

  defendant Circuitronix, the latter agreed to pay the former therefor.

            438.   Plaintiff Benlida performed its obligations under the contract by delivering such

  circuit boards to defendant Circuitronix at the latter’s designated place of delivery.

            439.   Defendant Circuitronix received the shipments and accepted delivery of the goods

  without protest.

            440.   Plaintiff Benlida properly and correctly invoiced defendant Circuitronix for such

  goods.

            441.   Defendant Circuitronix failed to make full payment for such goods,

  notwithstanding plaintiff Benlida’s timely demand for payment of the debt due.

            442.   Defendant Circuitronix alleged that plaintiff Benlida owed it a total of

  $6,561,044.21, citing an extra-contractual and unconsented-to lead-time penalty and citing an

  Excel spreadsheet of purported itemizations, in an attempt to circumvent payments due to

  Benlida, thereby demonstrating a lack of good faith and fair dealing on the part of Circuitronix.

            443.   By reason of the aforesaid, plaintiff Benlida sustained damages in the amount of

  $13,655,335.93, plus interest at the statutory rate and costs.

                                                     47
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 48 of 49




                                Second Cause of Action: Account Stated
             444.   Plaintiff repeats and re-alleges the foregoing paragraphs as if set forth here at full

  length.

             445.   Defendant Circuitronix expressly agreed to purchase the aforesaid goods from

  plaintiff Benlida.

             446.   Defendant Circuitronix expressly agreed to pay the amounts specified in the

  invoices.

             447.   Plaintiff Benlida delivered the aforesaid goods as specified in the invoices.

             448.   Plaintiff Benlida presented the accounts stated by sending the invoices to

  defendant Circuitronix, which constituted the bill for the goods delivered.

             449.   Plaintiff Benlida’s invoices are correct and accurate as they reflect the dollar

  amounts agreed to by Circuitronix for the purchase of the goods.

             450.   Defendant Circuitronix accepted delivery of the goods without objection or

  protest.

             451.   Defendant Circuitronix received the invoices from plaintiff Benlida as a bill for

  the sale of the delivered goods without objection.

             452.   Defendant Circuitronix retained the invoices without objection as to the stated

  amounts contained therein.

             453.   Defendant Circuitronix has failed to remit payment of the debt although it has

  been in possession of the invoices beyond a reasonable amount of time.

             454.   Although plaintiff Benlida made a written demand for payment of the amount

  due, defendant Circuitronix remains delinquent in providing payment.

                                                      48
Case 0:21-cv-60125-RNS Document 1 Entered on FLSD Docket 01/19/2021 Page 49 of 49




         455.    By reason of the aforesaid, plaintiff Benlida has sustained damages in the amount

  of $13,655,335.93, plus interest at the statutory rate and costs, and, based upon the cause of

  action in account stated, plaintiff Benlida is entitled to a judgment against defendant Circuitronix

  for having failed to pay the debt that was properly billed, pursuant to the invoices, which

  invoices were timely sent in due course for the purchase of the goods that plaintiff Benlida

  delivered.

                                                  ***
                                             Jury Demand
         Plaintiff Benlida demands a trial by jury as to all issues so triable.

                                          ***
         WHEREFORE, plaintiff Jiangmen Benlida Printed Circuit Co., Ltd. demands judgment

  against defendant Circuitronix LLC (a) for $13,655,335.93; (b) for prejudgment interest in

  accordance with the contract between the parties or statutory interest from the date of loss, plus

  costs; and (c) for such other and further relief as this court deems proper and just.

  Dated: New York, New York
         January 19, 2021

                                                                Respectfully submitted,

                                                                MAZZOLA LINDSTROM LLP




                                                                __________________________
                                                                By: Jean-Claude Mazzola
                                                                Attorneys for plaintiff
                                                                1350 Avenue of the Americas, 2nd Floor
                                                                New York, NY 10019
                                                                Tel: (646) 216-8585
                                                                Cell: (646) 250-6666
                                                                jeanclaude@mazzolalindstrom.com


                                                   49
